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 4
     Attorneys for Defendant
 5   VINCENT NG
 6
 7
 8                                 UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                         OAKLAND DIVISION
11
     UNITED STATES OF AMERICA,                   )
12                                               )       CR No. CR 06-0051 CW
                   Plaintiff,                    )
13                                               )       EXPARTE APPLICATION FOR
           vs.                                   )       MODIFICATION OF PRETRIAL RELEASE
14                                               )       CONDITIONS
     VINCENT NG,                                 )
15                                               )
                            Defendant.           )
16                                               )
17
18          Defendant VINCENT NG submits this Ex Parte Application for modification of the February
19   7, 2006, pretrial Conditions of Release and Appearance Order to permit unrestricted travel within the
20   Northern, Eastern and Central districts of California and the Nevada side of South Lake Tahoe.
21   Dated: March 9, 2006
22                                               Respectfully submitted;
23
24                                                             /s/
                                                 Garrick S. Lew
25                                               Attorney for Vincent Ng
26
27
28
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     Attorneys for Defendant
 5   VINCENT NG
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 8                                  UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                          OAKLAND DIVISION
11
     UNITED STATES OF AMERICA,                      )
12                                                  )     CR No. CR 06-0051 CW
                    Plaintiff,                      )
13                                                  )     EX PARTE REQUEST FOR MODIFICATION
            vs.                                     )     OF CONDITIONS OF RELEASE AND
14                                                  )     APPEARANCE
     VINCENT NG,                                    )
15                                                  )
                            Defendant.              )
16                                                  )
17
                                     REQUEST FOR TRAVEL ORDER
18
19          Defendant VINCENT NG, through counsel, submits this Ex Parte application for modification
20   of his Conditions of Release and Appearance bond to permit unrestricted travel within the Northern,
21   Eastern and Central Districts of California.
22          Defendant regularly travels with his family on ski trips, children sports league activities and
23   family events within the Northern, Eastern and Central districts of California.
24          This weekend defendant’s children are participating in the Sacramento Japanese United
25   Methodist Church’s 20th Annual Invitational Basketball Tournament [see attached confirmation and
26   invitation letter] which will require the family to stay in Sacramento on the evenings of March 10 and
27   11, 2006. Later this month the family would like to return to the Lake Tahoe area for weekend skiing.
28   For the Easter break week the family is planning to travel to the Los Angeles area to visit family and
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 1   friends which may involve skiing at Mammoth Mountain and a visit to Disneyland. Under the present
 2   Conditions of Release and Appearance defendant is required to apply for court approved travel orders
 3   for each of these planned family activities.
 4          Defendant has spoken with his pretrial services officer Betty Kim who does not oppose the
 5   requested modification to allow unrestricted travel within the Northern, Eastern and Central districts of
 6   California.
 7          Counsel has also notified AUSA Maureen Bisette of the requested modification and the
 8   government will not oppose the requested modification.
 9          In February this Court granted defendant’s Ex Parte request to take a family “ski week trip” with
10   family members during the children’s winter break from the Piedmont Schools.
11          Defendant is on pretrial release on an unsecured $100,000 personal recognizance bond.
12   Defendant’s next appearance before the Honorable Claudia Wilkins is presently scheduled for March
13   27, 2006.
14   Dated: March 9, 2006
15                                                   Respectfully Submitted,
16
17                                                              /s/
                                                     Garrick S. Lew
18
19                                                     ORDER
20          Based on the above, good cause appearing, it is hereby ordered that defendant’s Conditions of
21   Release and Appearance be modified to permit unrestricted to travel within the Northern, Eastern and
22   Central districts of California and the Nevada side of Lake Tahoe.
                                                                  S DISTRICT
                                                               ATE           C
23   DATED: March 10, 2006                                    T
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27                                                   _____________________________
                                                                R
                                                     WAYNE D. BRAZIL
28                                                   U.S. District Court Magistrate Judge
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     Attorneys for Defendant
 5   VINCENT NG
 6
 7
 8                                  UNITED STATES DISTRICT COURT
 9                               NORTHERN DISTRICT OF CALIFORNIA
10                                          OAKLAND DIVISION
11
     UNITED STATES OF AMERICA,                     )
12                                                 )      CR No. CR 06-0051 CW
                    Plaintiff,                     )
13                                                 )      DECLARATION OF COUNSEL re EX PARTE
            vs.                                    )      MODIFICATION OF CONDITIONS OF
14                                                 )      RELEASE AND APPEARANCE
     VINCENT NG,                                   )
15                                                 )
                            Defendant.             )
16                                                 )
17          I, GARRICK S. LEW, declare as follows:
18          1.      On February 13, 2006, when defendant orally applied for permission to travel on a family
19   ski trip there was no opposition to the request by the government or pretrial services.
20          2.      Defendant’s and his family, with court approval, traveled to South Lake Tahoe, California
21   for a family ski trip in February 2006 without incident.
22          3.      On March 6, 2006, my assistant Jennifer Jameson left a voice message for Assistant
23   United States Attorney, Maureen Bisette regarding defendant's request for modification of his conditions
24   of release and I have not receive any objection to the proposed request from Ms. Bisette.
25          4.      Defendant has discussed the proposed modification of his conditions of release with his
26   pretrial services officer Betty Kim and Ms. Kim does not oppose the proposed modification.
27          5.      On March 9, 2006, my office faxed a copy of the instant Ex Parte Application for
28   Modification of Conditions of Release and Appearance to Betty Kim at Pretrial Services and AUSA
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 1   Maureen Bisette.
 2          I declare under penalty of perjury the foregoing is true and correct to the best of my knowledge.
 3   Dated: March 9, 2006
 4
 5                                                           /s/
                                                  Garrick S. Lew
 6                                                Attorney for Vincent Ng
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